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     8                       UNITED STATES DISTRICT COURT
     9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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    11   RAY WEISBEIN, individually and on          Case No. 8:20-cv-00801-SSS-ADSx
         behalf of all others similarly situated,
    12
    13                Plaintiff,                    FINAL JUDGMENT ORDER
                                                    GRANTING DEFENDANTS’
    14         v.                                   MOTION FOR SUMMARY
                                                    JUDGMENT [DKT. 140]
    15   ALLERGAN, INC., a Delaware
         corporation., et al.,
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    17
                      Defendant.
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     1                                    JUDGMENT
     2         Pursuant to the Order Granting Defendants’ Motion for Summary
     3   Judgment and after considering the papers filed in support of and against
     4   Defendant’s Motion, IT IS HEREBY ORDERED THAT:
     5      1. The Defendant’s Motion for Summary Judgment is GRANTED.
     6      2. Plaintiff’s complaint and action are HEREBY DISMISSED WITH
     7         PREJUDICE.
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     9         IT IS SO ORDERED.
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    11   Dated: December 2, 2022
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    13                                         SUNSHINE S. SYKES
    14                                         United States District Judge
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